                           IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                      WESTERN DIVISION
                                Civil Action No.: 5:17-cv-00534-H

                                                  )
EPIC GAMES, INC.,                                 )
                                                  )
                 Plaintiffs,                      )
                                                  )
v.                                                )
                                                        MOTION FOR DEFAULT JUDGMENT
                                                  )
C.R.,                                             )
                                                  )
                 Defendant.                       )
                                                  )
                                                  )
                                                  )


        Plaintiff Epic Games, Inc. (“Plaintiff” or “Epic”), by and through undersigned counsel,

and pursuant to Federal Rule of Civil Procedure 55(b)(2), hereby respectfully moves for entry of

default judgment with prejudice against Defendant C. R. (“Defendant” or “C. R.”), as

represented by his general guardian Lauren Rogers (“Ms. Rogers”). The grounds for this motion

are stated in greater detail in Plaintiff's Memorandum of Law in Support of Motion for Default

Judgment filed contemporaneously herewith.

        In support of this Motion, Plaintiff relies on the following materials, either previously

submitted or filed contemporaneously with this Motion:

                The Complaint (D.E. 1);

                Letter from Lauren Rogers to the Clerk of Court (D.E. 6);

                The amended Summons (D.E. 9);

                Epic’s Declaration of Service (D.E. 10);

                Order on Motion for Entry of Default (D.E. 13);

                Epic’s Response to Defendant’s Motion to Dismiss (D.E. 20);

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                Order denying Motion to Dismiss (D.E. 22);

                Epic’s Renewed Motion for Entry of Default (D.E. 23);

                Order granting Motion for Entry of Default (D.E. 24);

                Epic’s Memorandum of Law in support of Motion for Default Judgment,

                 submitted contemporaneously herewith;

                Epic’s Second Declaration of Chris Thomas, submitted contemporaneously

                 herewith; and

                Affidavit of Christopher M. Thomas in support of Motion for Default Judgment,

                 submitted contemporaneously herewith.

       WHEREFORE, Plaintiff respectfully requests that this Court enter an order for default

judgment with prejudice and permanent injunction against Defendant directing Defendant to

immediately (i) destroy all copies of any videos, cheats or hacks in his possession, custody, or

control that can be used to infringe any of Epic’s copyrights or cheat at any of Epic’s games and

(ii) permanently enjoining Defendant from engaging in the following activities:

           1. infringing any of Epic’s currently existing or future copyrighted works, including,

                 without limitation, infringement by unauthorized public display or public

                 performance of any of Epic's current or future copyrighted works and/or

                 derivative works based on such works, and/or the use of any software or device

                 that copies or modifies Epic’s software in violation of the Copyright Act;

           2. inducing or materially contributing to the direct infringement of any of Epic’s

                 currently existing or future copyrighted works by others, including, without

                 limitation, infringement by the use of any software or device that copies or

                 modifies Epic’s software in violation of the Copyright Act;

           3. violating Epic’s Terms of Service;
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           4. violating the Fortnite End User License Agreement;

           5. intentionally interfering with Epic’s contracts or contractual relations with the

                 other parties to those contracts or contractual relations;

           6. cheating at any of Epic’s games or at any game that Epic subsequently develops,

                 creates, or publishes in a way that infringes Epic’s copyrights or violates any

                 contract with Epic; and/or

           7. materially contributing to the infringement by cheating of others or inducing

                 others to infringe by cheating at any of Epic’s current games or any games that

                 Epic subsequently develops, creates, and/or publishes in a way that infringes

                 Epic’s copyrights or violates any contract with Epic.

       A proposed order is being submitted herewith.

       Respectfully submitted this the 24th day of September, 2018.


                                                /s/ Christopher M. Thomas
                                                Christopher M. Thomas
                                                N.C. State Bar No. 31834
                                                christhomas@parkerpoe.com
                                                Tasneem D. Delphry
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                                                Attorneys for Plaintiff
                                                Epic Games, Inc.




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                                CERTIFICATE OF SERVICE

       This is to certify that a copy of the foregoing MOTION FOR DEFAULT JUDGMENT

was electronically filed this day with the Clerk of Court using the CM/ECF system and that a

true and accurate copy of it was sent to all parties to this cause by depositing the original and/or

copy hereof, postage pre-paid, in the United States mail, addressed as follows:


                                              C.R.
                                       c/o Lauren Rogers
                                         501 West Ave.
                                     New Castle, DE 19720

                                                and

                                               C.R.
                                        c/o Lauren Rogers
                                          5 Vireo Circle
                                        Newark, DE 19711

       This the 24th day of September 2018.

                                              /s/ Christopher M. Thomas
                                              Christopher M. Thomas
                                              N.C. State Bar No. 31834
                                              christhomas@parkerpoe.com
                                              Tasneem D. Delphry
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